Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 1 of 19 Page ID #:1040

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 19-519 JVS (JDEx)                                       Date   May 6, 2019

 Title             Softketeers, Inc. v. Regal West Corporation, et al.


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                        Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           (IN CHAMBERS) Order Regarding Motion for Preliminary
                        Injunction [20]

       Plaintiff Softketeers, Inc. (“Softketeers”) filed a motion for a preliminary
injunction. Mot., Docket No. 20. Defendants Regal West Corporation d/b/a Regal
Logistics (“Regal”), Vu Ho Inc., Thai Tran Inc., Don Mai Inc. (together, the “Individual
Corporations”), Randy Neeves (“Neeves”), Vu Ho (“Ho”), Thai Quac Tran (“Tran”), Don
Mai (“Mai”), and Trung Ngoc Doan (“Doan”) (together, the “Individual Defendants”)
(collectively, “Defendants”) filed an opposition. Opp’n, Docket No. 27. Softketeers
replied. Reply, Docket No. 31.

         For the following reasons, the Court grants the motion.

                                                    I. BACKGROUND

       Regal is a third-party logistics company. Declaration of Randy Neeves, Docket
No. 27-1 (“Neeves Decl.”) ¶ 3. Neeves is Regal’s CEO. Id. ¶ 1. Softketeers is a
software company. Declaration of Minh Khai Nguyen, Docket No. 20-1 (“Nguyen
Decl.”) ¶ 2. Minh Khai Nguyen (“Nguyen”) is the CEO, sole shareholder, and sole
director of Softketeers. Id. ¶ 1.

       In approximately the fall of 2000, Regal asked Softketeers to develop custom
billing and invoicing software for Regal’s use in its business operations. Nguyen Decl. ¶
3; Neeves Decl. ¶ 15. Softketeers then developed a comprehensive software package
which would become known as Warehouse Management System (“WMS”). Nguyen
Decl. ¶ 3. WMS was commercially launched in 2001. Id. ¶ 4. WMS was continually
developed and modified by Softketeers and its small team of employees and contractors.
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                               Page 1 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 2 of 19 Page ID #:1041

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

Id. WMS was expanded into billing, inventory, warehouse, and order management
software that was specifically designed by Softketeers for the third-party logistics
industry. Id. WMS became a comprehensive software solution to manage shipping,
warehousing and logistics supply chain, from port/pier, to intake trucking, to
warehousing/inventory, to outbound trucking, and to end customers and retailers. Id.

       Over the years, Softketeers has also created additional applications to
complement the core WMS application, including: RF Systems (“RFS”), a physical
inventory tracking system deployed in 2003; MyWMS (a/k/a “MyRegal”), a portal that
Regal’s customers can use to access and interface with WMS, deployed in 2005;
Transportation Management System (“TMS”), which manages dispatches associated with
the movement of freight, deployed in 2008; and Yards Management System (“YMS”),
which tracks freight containers, deployed in 2018. Id. ¶ 5. Softketeers also developed
mobile TMS apps for Google (Android) and Apple (iOS) in 2014 and 2017. Id. WMS,
RFS, MyWMS, TMS, YMS, and the TMS mobile apps will henceforth be referred to
collectively as the “Software.”

      In 2011, Softketeers and Regal negotiated a potential transaction culminating in a
“Software Co-Ownership Agreement” and “Protective Covenant Agreement” under
which Regal would have paid Softeketeers $1.5 million for joint ownership of the
Software. See Nguyen Decl. ¶ 15, Ex. 14. The negotiations, which were motivated by a
potential third-party acquisition of Regal, fell through when the acquisition was
abandoned. Id.

       In early 2017, Ho left Softketeers after working on the Software for about 16 years.
Nguyen Decl. ¶ 22. Regal then hired Ho and the other Individual Defendants to support
the Software and provide the consulting services Softketeers previously provided to
Regal’s customers. Id. Regal also tried to recruit at least one other Softketeer
programmer, Dong Pham. Id., Ex. 21. Nguyen believes that one or more of the
Individual Defendants provided Regal with the Software source code because (1)
Softketeers never delivered the source code to Regal and Regal wanted the code as
recently as December 2018; (2) the Software requires ongoing maintenance at the source-
code level to continue to serve Regal’s needs and customers; (3) emails have continued to
arrive in the @softketeers.com email inboxes for Mai, Tran, and Doan describing work
done on the Software; and (4) Mai and Tran told Nguyen that the source code is now
stored on a Regal server. Id. ¶ 24, Exs. 22–24.
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                            Page 2 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 3 of 19 Page ID #:1042

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.


       In December 2018, Regal offered to pay Softketeers $1 million for joint ownership
of the Software, delivery of the source code, and assignment of future work on the
Software to Regal, among other terms. Nguyen Decl. ¶ 16, Exs. 15–17. However, emails
between Neeves and Nguyen indicate that the payment was not an offer, but a demand.
See id., Ex. 16 (“Will need this agreement signed for future payments to be processed.”).
No final agreement was ever reached, and Neeves did not respond when Nguyen asked
how Neeves “would like to proceed going forward” on December 6, 2018. Id.

       Softketeers continued to do work on the Software for Regal, but on February 2,
2019, Neeves sent Nguyen an email terminating Regal’s consulting arrangement with
Softketeers. Id. ¶ 18, Ex. 19. As of February 2, 2019, Regal owed Softketeers about
$277,000 in outstanding invoices for work performed. Id. ¶ 19, Ex. 20. Regal continues
to withhold payment on those invoices. Id. Neeves declares that Nguyen’s quality of
work deteriorated over the last several years of their business relationship, the time he
would spend on projects increased, and he would miss deadlines. Neeves Decl. ¶ 23.
Neeves also asserts that the final invoices and time entries submitted by Nguyen appear
fraudulent. Id. ¶ 26.

      On March 15, 2019, Softketeers filed this lawsuit. Docket No. 1. On March 26,
2019, it brought this motion for a preliminary injunction seeking the following relief:

         1.      Impounding, pendente lite, all media in the custody, possession, or control of
                 any defendant on which copies of any source code is stored for software
                 known or formerly known as Warehouse Management System (WMS),
                 WMS Services, RF Systems (RFS), MyWMS (a/k/a MyRegal),
                 Transportation Management System (TMS), and/or Yards Management
                 System (YMS; collectively with WMS, WMS Services, RFS, MyWMS, and
                 TMS, “Software”), or any portion or derivative thereof, including but not
                 limited to: any server associated with the URLs tfs.regallogistics.com or
                 regal56:8080/tfs, the TFS server identified as Regal56, and any media whose
                 directory structure includes the path Regal15x\E\Thai-Develop;

         2.      Requiring defendants to (a) permanently delete or otherwise destroy any
                 copies of any Software source code or any portion thereof under their
                 control that are stored on media they are unable to surrender, and (b) provide
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                            Page 3 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 4 of 19 Page ID #:1043

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

                 a complete inventory, under oath and penalty of perjury, of all copies of any
                 Software known to them that are not subject to impound or deletion;

         3.      Requiring the defendants to verify, under oath and penalty of perjury, the
                 fact and manner of their compliance with the foregoing provisions; and

         4.      Preliminarily enjoining defendants—together with their respective officers,
                 agents, servants, employees, and attorneys, and any other person(s) in active
                 concert or participation with any of them—from disclosing or using source
                 code, including by modifying or compiling source code, either acquired or
                 derived from code that was acquired, directly or indirectly, from Softketeers,
                 including but not limited to source code for the Software.

Notice, Docket No. 20 at viii.

                                      II. LEGAL STANDARD

       On an application for a preliminary injunction, the plaintiff has the burden to
establish that (1) he is likely to succeed on the merits, (2) he is likely to suffer irreparable
harm if the preliminary relief is not granted, (3) the balance of equities favors the
plaintiff, and (4) the injunction is in the public interest. Winter v. Natural Res. Def.
Council, Inc., 555 U.S. 5, 20 (2008).

       In the Ninth Circuit, the Winter factors may be evaluated on a sliding scale:
“serious questions going to the merits, and a balance of hardships that tips sharply toward
the plaintiff can support issuance of a preliminary injunction, so long as the plaintiff also
shows that there is a likelihood of irreparable injury and that the injunction is in the
public interest.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th
Cir. 2011).

                                         III. DISCUSSION

A.       Likelihood of Success

         1.      Copyright Infringement

CV-90 (06/04)                           CIVIL MINUTES - GENERAL                            Page 4 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 5 of 19 Page ID #:1044

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                     Date    May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

       “A plaintiff bringing a claim for copyright infringement must demonstrate ‘(1)
ownership of a valid copyright, and (2) copying of constituent elements of the work that
are original.’” Funky Films, Inc. v. Time Warner Entm’t Co., L.P., 462 F.3d 1072, 1076
(9th Cir. 2006) (quoting Fiest Pubs., Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361
(1991)).

       Defendants advance three principal arguments against Softketeers’ likelihood of
success on its claim for copyright infringement: (1) Softketeers fails to identify any
protectable works Defendants have allegedly infringed, (2) Softketeers is not the sole
owner of any copyrights, and (3) Regal has an irrevocable, non-exclusive license to use
the source code. Opp’n, Docket No. 27 at 5–13. The Court rejects these arguments for
the following reasons.

                 a.    Identification of Protectable Works

       Softketeers has identified the protectable works allegedly infringed: the source
code for the Software. See Notice, Docket No. 20. Although Defendants point out that
Softketeers’ registrations disclaim open-source modules, all that follows from those
disclaimers is that open-source modules may be carved out of any potential injunction.
Opp’n, Docket No. 27 at 5. Defendants also point to the fact that the copyright
registrations were issued in 2019 and do not cite to any previous versions; however,
because no prior versions were registered or distributed to the public, the registrations
cover all prior versions. See COMPENDIUM OF U.S. COPYRIGHT OFFICE PRACTICES §
721.8 (3d ed. 2017) (“Compendium”)1 (CodeBuster LLC example). Finally, Defendants’
argue that Softketeers must demonstrate “substantial similarity” between the software
used by Defendants and Softketeers’ copyrighted works. Opp’n, Docket No. 27 at 6. But
substantial similarity comes into play only “[a]bsent direct evidence of copying.”
Antonick v. Electronic Arts, Inc., 841 F.3d 1062, 1065 (9th Cir. 2016) (citation omitted).



         1
         “The Compendium is a manual published by the Copyright Office and provides guidance to
copyright applicants and others regarding practices and principles of copyright law.” Dr. Seuss Enters.,
L.P. v. ComicMix LLC, 2018 WL 2298197, at *4 n.5 (S.D. Cal. May 21, 2018). The interpretation of
copyright law in the compendium is “entitled to judicial deference if reasonable.” Batjac Prods. Inc. v.
GoodTimes Home Video Corp., 160 F.3d 1223, 1231 (9th Cir. 1998). The Compendium is available at
https://www.copyright.gov/comp3/.
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                 Page 5 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 6 of 19 Page ID #:1045

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
 Case No.        SACV 19-519 JVS (JDEx)                                           Date    May 6, 2019

 Title           Softketeers, Inc. v. Regal West Corporation, et al.

      Here, Softketeers has alleged and shown a substantial likelihood of success on the
claim that Defendants took the software written by Softketeers and continue to use it.
Furthermore, the evidence to show substantial similarity is in Defendants’ exclusive
possession; as alleged, Defendants have the current version of the source code, while
Softketeers has only the purportedly stolen version of the source code as it existed on
February 2, 2019. Therefore, the burden shifts to Defendants on the issue of substantial
similarity. See Morris v. Williams, 433 P.2d 697, 715 (Cal. 1967) (“Where the evidence
… lies peculiarly within the knowledge … of one of the parties, that party has the burden
of going forward with the evidence on the issue although it is not the party asserting the
claim.”); accord United States v. Denver & Rio Grande R. Co., 191 U.S. 84, 92 (1903).

                   b.      Ownership

       Softketeers has shown a likelihood that it has an ownership interest in the source
code for the Software, while Defendants do not. “Copyright in a work . . . vests initially
in the author or authors of the work.” 17 U.S.C. § 201(a). Softketeers is the named
author on eight 2019 copyright registrations for various pieces of the Software, along
with various other authors; however, Regal is not named as an author on any registration.
See Nguyen Decl., Exs. 2–9. Specifically, Softketeers is the author of the following eight
copyright registrations:2

         •         Registration No. TXu002130025 for a collection of “services” used by
                   WMS (Softketeers, Vu & Whitney Inc., Vu Ho Inc., Tuan Ngoc Nguyen, Inc.,
                   Thai Tran, Inc., and Don Mai Inc.)
         •         Registration Nos. TXu002129946 (Softketeers, Tuan Ngoc Nguyen, Inc.,
                   Thai Tran Inc., Uan Inc., and Trung Doan), TXu002129947 (Softketeers, Vu
                   & Whitney Inc., and Vu Ho Inc.), and TXu002130648 (Softketeers, Vu &
                   Whitney Inc., Vu Ho Inc., Thai Tran Inc., and Charles Hoang) for WMS
                   code bases written in VB.NET, C#, and Visual Basic 6.0, respectively;
         •         Registration No. TXu002130748 for the back-end of the MyWMS portal
                   (Softketeers and Don Mai Inc.); and
         •         Registration Nos. TXu002130746 (Softketeers and Don Mai Inc.),
                   TXu002130024 (Softketeers, Tuan Ngoc Nguyen Inc., and Brandon Le), and

         2
             The authors of each registration are enclosed in parentheticals in italics after each registration
number.
CV-90 (06/04)                                 CIVIL MINUTES - GENERAL                                   Page 6 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 7 of 19 Page ID #:1046

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                  Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

                 TXu002130747 (Softketeers and Don Mai Inc.) for RFS, TMS, and YMS,
                 respectively.

Id. Softketeers also has copyright registration applications pending for the MyWMS
portal front-end and in the TMS mobile apps (Android and Apple iOS).
       Defendants first argue that Regal owns the Software as a work for hire. The
Copyright Act provides “two mutually exclusive ways for works to acquire work for hire
status: one for employees and the other for independent contractors.” Reid, 490 U.S. at
747–48. Specifically, a “work made for hire” is:

                    (1) a work prepared by an employee within the scope of his
                    or her employment; or

                    (2) a work specially ordered or commissioned … if the
                    parties expressly agree in a written instrument signed by
                    them that the work shall be considered a work made for
                    hire.

17 U.S.C. § 101.

      Defendants argue only that Softketeers was an employee work for hire under
subsection (1). Opp’n, Docket No. 27 at 7–9. Thus, the first inquiry is whether
Softketeers was an employee or an independent contractor. Reid, 490 U.S. at 750–51
(“To determine whether a work is for hire … a court first should ascertain . . . whether the
work was prepared by an employee or an independent contractor. After making this
determination, the court can apply the appropriate subsection of § 101.”). Under Reid, in
determining whether a hired party is an employee, courts should consider “the hiring
party’s right to control the manner and means by which the product is accomplished.” Id.
at 751. Relevant factors include

                    the skill required; the source of the instrumentalities and
                    tools; the location of the work; the duration of the
                    relationship between the parties; whether the hiring party
                    has the right to assign additional projects to the hired party;
                    the extent of the hired party’s discretion over when and
                    how long to work; the method of payment; the hired party’s
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                              Page 7 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 8 of 19 Page ID #:1047

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                 Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

                    role in hiring and paying assistants; whether the work is
                    part of the regular business of the hiring party; whether the
                    hiring party is in business; the provision of employee
                    benefits; and the tax treatment of the hired party.

Id. at 751–52.

       These factors point to the conclusion that those who wrote the Software were not
Regal employees. As Softketeers points out, Regal never paid anything to any of the
relevant individuals, paying only Softketeers, which in turn paid the Individual
Defendants. Nguyen Decl. ¶¶ 12, 16, Exs. 29–33. Furthermore, over the years, Regal
never issued IRS Forms W-2 or 1099 to Softketeers or Nguyen, and there is no evidence
they issued such forms to any of the Individual Defendants. Reply Nguyen Decl., Docket
No. 31-1 ¶ 18. The selection and hiring of those who wrote the Software was done by
Softketeers, without input from Regal. Id. ¶ 24. Furthermore, the software industry
requires highly skilled work. See Aymes v. Bonelli, 980 F.2d 857, 862 (2d Cir. 1992)
(“computer programmers [are] highly-skilled independent contractors”). Regal did not
provide the computers on which the Software was developed, it was not developed in
Regal’s facilities, Regal had no right to assign tasks unrelated to the Software to those
who were writing it, and Regal had no say over when or how long the Software writers
worked. Reply Nguyen Decl. ¶¶ 11, 24. And finally, by Defendants’ own admission,
Softketeers (through Nguyen) was an independent contractor for Regal. Neeves Decl. ¶
27. Therefore, Softketeers has shown a likelihood that Softketeers and the Individual
Defendants were not employees of Regal, and thus that the Software is not owned by
Regal as an employee work for hire.

       Next, Defendants argue that the Individual Defendants retained ownership interests
in the relevant copyrights. Opp’n, Docket No. 27 at 9–10. With respect to Neeves,
Defendants argue that he provided “input on . . . the source code itself, the algorithms
used, the process flows, and the layouts of graphical user interfaces.” Neeves Decl. ¶ 18.
However, algorithms, process flows, menu screens, layouts, and formats generated by a
computer program are generally not copyrightable subject matters or elements. See 17
U.S.C. § 102(b) (copyright does not “extend to any . . . procedure, process, . . . [or]
method of operation”); COMPENDIUM § 721.7. Furthermore, even if Neeves had
contributed a copyrightable expression to the interface (not merely unprotectable
“layout”), that would not impair Softketeers claim because screen outputs, as audio-visual
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                             Page 8 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 9 of 19 Page ID #:1048

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

works, are distinct from programs, which are literary works. See Whelan Assocs, Inc. v.
Jaslow Dental Lab., Inc., 797 F.2d 1222, 1244 (3d Cir. 1986) (citations omitted). Lastly,
“input” on source code is insufficient to establish co-authorship; rather, an author must
actually help write the code to claim copyright protection over it. See S.O.S., 886 F.2d at
1087 (9th Cir. 1989) (quoting Reid, 490 U.S. at 737) (“A person who merely describes to
an author what the commissioned work should do or look like is not a joint author. . . .
To be an author, one must supply more than mere direction or ideas: one must ‘translate[]
an idea into a fixed, tangible expression entitled to copyright protection.’”). Neeves does
not contend that he is a programmer, and Nguyen declares that Neeves never did any
actual coding of the WMS or any related software. Reply Nguyen Decl. ¶ 14.

       With respect to the remaining Individual Defendants, the former Softketeer
programmers, the Court finds that Softketeers has established a likelihood of success on
the claim that those Defendants assigned their copyrights in the Software to Softketeers
by contract. “[O]wnership of a copyright may be transferred in whole or in part by any
means of conveyance.” 17 U.S.C. § 201(b). However, such a transfer of ownership “is
not valid unless an instrument of conveyance, or a note or memorandum of the transfer, is
in writing and signed by the owner of the rights conveyed or such owner’s duly
authorized agent.” 17 U.S.C. §204(a).

      Softketeers submits various “Consulting Agreements” between Softketeers and the
Individual Corporations: one from 2010 with Vu & Whitney, Inc.; one from 2016 and
one from 2017 with Vu Ho, Inc.; one from 2010 with Thai Tran Inc., one from 2010 with
Don Mai Inc., and one from 2017 with Trung Doan, which is the only agreement with an
individual (collectively, “Consulting Agreements”). Nguyen Decl., Exs. 10–13. Each of
the Consulting Agreements contains the same provision relevant to this action:

                    TITLE, COPYRIGHT, WORK-PRODUCT: All right,
                    title, interest, copyright, or other intellectual property
                    interests in the Program which developed by Consultant for
                    Softketeers under this Agreement, including source code,
                    object code, other related documents and materials, shall
                    become and remain the property of Softketeers as “Work
                    for Hire”

Id.
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                            Page 9 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 10 of 19 Page ID #:1049

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

       Defendants argue that there is no evidence that the Individual Defendants were
employees of the Individual Corporations with which Softketeers executed the
Consulting Agreements. Opp’n, Docket No. 27 at 9–10. This argument is rejected
because (1) the corporations have the same names as the Individual Defendants, who
have not declared they were not employed by their corporations; (2) Softketeers paid the
corporations for the work the individuals did; (3) the Individual Defendants signed the
Consulting Agreements on behalf of the Individual Corporations, and (4) public records
confirm that the Individual Defendants are each the chief executive officer, secretary, and
chief financial officer of their eponymous corporations. Nguyen Decl., Exs. 10–12;
Reply Nguyen Decl., Exs. 30–32; Reply, Exs. F–H.

       Defendants also argue that Softketeers failed to submit pre-2010 agreements with
Ho’s, Tran’s, and Mai’s companies (Doan did not start until 2017). Opp’n, Docket No.
27 at 10. However, Nguyen declares that the Consulting Agreements he produced are
substantially identical in form to those he had with the Individual Corporations going
back to 2003 and earlier. See Nguyen Decl. ¶ 11; Reply Nguyen Decl. ¶¶ 32–35.
Nguyen also declares that he has not produced those agreements because, during the
course of an office move in 2003, he lost certain records, including the earlier consulting
agreements, which is why he had the Individual Corporations re-affirm their arrangement
through the Consulting Agreements in 2010 and later. Reply Decl. ¶¶ 32–35. Nguyen
thus shows the existence of the pre-2010 agreements with other competent evidence. See
3 NIMMER ON COPYRIGHT § 10.03 (“[T]he current Act’s requirement of a writing carries
forward prior law on the subject. … [C]ases under the 1909 Act held that if all written
copies of the instrument of transfer have been lost, oral evidence as to the fact of a
written conveyance will be admissible.”); cf. Fed. R. Evid. 1004 (“An original is not
required and other evidence of the content of a writing … is admissible if: (a) all the
originals are lost or destroyed, and not by the proponent acting in bad faith.”).

        Therefore, Nguyen shows a likelihood that (1) the Individual Defendants’ work on
(i.e., their copyright interests in) the Software was the property of the Individual
Corporations as employee work-for-hire; and (2) contracts between Softketeers and the
Individual Corporations exist going back to the inception of the Software which included
provisions that the programmer-Defendants assigned all their rights in the Software,
including copyright interests in the Software, to Softketeers through the Individual
Corporations. Accordingly, Softketeers has shown a likelihood that the Individual
Defendants have no ownership interest in the relevant copyrights.
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                            Page 10 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 11 of 19 Page ID #:1050

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

        Lastly, Defendants argue that they are joint owners of the source code based on the
control Regal exercised over Softketeers’ work. Opp’n, Docket No. 27 at 10–11. In
cases of joint authorship, each co-author starts out as a co-owner. 17 U.S.C. § 201(a).
But “[c]opyright protection subsists” only in “works of authorship fixed in any tangible
medium of expression,” 17 U.S.C. § 102(a), and “[i]n no case does copyright protection .
. . extend to any idea,” 17 U.S.C. § 102(b). Therefore, joint authorship requires more
than “supply[ing] . . . mere direction or ideas”: to be a joint author, “one must ‘translate[]
an idea into a fixed, tangible expression entitled to copyright protection.’” S.O.S., 886
F.2d at 1087 (quoting Community for Creative Non-Violence v. Reid, 490 U.S. 730, 737
(1989)).

       As noted above, Neeves did not actually write any of the source code, and there is
no evidence that Neeves or Regal had any control over the writing of the code; rather, all
the evidence shows is that Neeves had control over the direction of the project, i.e.,
Regal’s wishes regarding the function and appearance of the Software and related
applications. See Reply Nguyen Decl. ¶¶ 13, 14. By analogy, a customer who places an
order at a restaurant does not then become the cook. Furthermore, control itself is not a
substitute for authorship. See S.O.S., 886 F.2d at 1087; Ashton-Tate Corp. v. Ross, 916
F.2d 516, 521 (9th Cir. 1990) (“joint authorship requires each author to make an
independently copyrightable contribution”). Therefore, Defendants have not shown that
there is a likelihood that Regal and Softketeers created the Software as a “joint work”
under 17 U.S.C. § 101.

                 c.    Implied License

      Defendants’ final argument as to copyright infringement is that Regal at a
minimum has an “implied, irrevocable, non-exclusive license to use, retain, and modify
the Software.” Opp’n, Docket No. 27 at 12.

       “[A]n implied license is granted when (1) a person (the licensee) requests the
creation of a work, (2) the creator (the licensor) makes that particular work and delivers it
to the licensee who requested it, and (3) the licensor intends that the licensee–requestor”
“use, retain, and modify the programs.” Asset Marketing Systems, Inc. v. Gagnon, 542
F.3d 748, 754–55 (9th Cir. 2008) (quotation marks and citation omitted).

         Here, Softketeers never delivered the source code to Regal, with the exception of
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                            Page 11 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 12 of 19 Page ID #:1051

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

aspx and Javascript code for public online portals. Nguyen Decl. ¶ 12. Therefore, the
delivery requirement is not satisfied. Furthermore, there is no evidence that Softketeers
intended Regal to use the source code. To the contrary, the evidence shows that the
intent was that Regal use the object code which was delivered to it, but not the source
code, which Softketeers held back for 18 years. Id. Furthermore, Regal bargained and
was willing to pay between $1 and $1.5 million in 2011 and 2018, respectively, for
delivery of the source code and joint ownership of the Software, at least in part. See
Nguyen Decl., Exs 14–15. This indicates that the parties understood that Regal did not
already have the right to access and use the source code as late as December 2018.

       Regal cites Effects Associates, Inc. v. Cohen, 908 F.2d 555 (9th Cir. 1990) to
support the argument that its allegedly infringing conduct falls within the scope of its
implied license. Opp’n, Docket No. 27 at 13. However, Effects is distinguishable. In
that case, there was no dispute that the footage at issue had been delivered to the licensee,
and “every objective fact” indicated that the licensor intended the footage to be copied
and distributed. Effects, 908 F.2d at 558–59, n.6. Here, on the other hand, the source
code for the Software was never delivered to Regal over the course of a near-20 year
business relationship.

       Because there is no evidence that Softketeers delivered the source code to Regal or
intended Regal to use, retain, or modify it, Defendants have not established a likelihood
that they possess an implied license to use, retain, and modify the source code for the
Software.

         2.      Trade Secret Misappropriation

                 a.    Trade Secret Protection

       Trade secret protection has two basic requirements: secrecy, and economic value
derived from not being known. See 18 U.S.C. § 1839(3) (“‘trade secret’ means . . .
information, including . . . programs . . . if—(A) the owner has taken reasonable measures
to keep such information secret; and (B) the information derives independent economic
value . . . from not being generally known to, and not being readily ascertainable through
proper means by, another person who can obtain economic value from . . . use of the
information”); Cal. Code Civ. Proc. § 3426.1(d) (“‘Trade secret’ means information,
including a . . . program, . . . that: (1) Derives independent economic value . . . from not
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                            Page 12 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 13 of 19 Page ID #:1052

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

being generally known . . . to other persons who can obtain economic value from its . . .
use; and (2) Is the subject of efforts that are reasonable under the circumstances to
maintain its secrecy.”).

       Here, Softketeers has shown that it maintained the secrecy of its source code by
requiring the programmer-Defendants to sign agreements promising to preserve its
confidentiality and by not delivering the source code to Regal, thereby limiting access to
the code. See Nguyen Decl. ¶ 24, Exs. 10–13; MAI Sys. Corp. v. Peak Computer, Inc.,
991 F.2d 511, 521 (9th Cir. 1993) (“MAI took reasonable steps to insure the secrecy to
this information by “requir[ing] its employees to sign confidentiality agreements”).
Furthermore, the source code was not readily ascertainable to Regal because it offered to
pay more than $1 million twice for ownership rights to it. Nguyen Decl. Exs. 14–15.
Moreover, Softketeers derived economic value from the source code not being known to
Regal, as demonstrated by the fact that Softketeers was receiving over $1 million per year
from Regal for development and consulting work related to the Software before it
allegedly obtained the source code from the programmer-Defendants. See Nguyen Decl.
¶ 30. Therefore, Softketeers has demonstrated a likelihood that the source code is trade-
secret protected.

       Defendants argue that Softketeers does not describe the alleged trade secrets with
sufficient particularity. Opp’n, Docket No. 27 at 14. The Court disagrees. The trade
secrets at issue are the source code for the Software, excluding the code written in
JavaScript and aspx. Defendants also argue that the open-source aspects of the source
code render the Software unqualified for trade secret protection. However, even if the
open-source modules were excluded, the Court sees no reason why the rest of the source
code wouldn’t still comprise protectable trade secrets. See Agency Solutions.Com, LLC
v. TriZetto Group, Inc., 819 F. Supp. 2d 1001, 1017 (E.D. Cal. 2011) (“source code is
undoubtably a trade secret”); Altavion, Inc. v. Konica Minolta Sys. Lab., Inc., 226 Cal.
App. 4th 26, 56 (2014) (“source code . . . . is unquestionably protectable by trade secret
law”). In addition, Defendants argue that Softketeers may have forfeited trade-secret
protection for the source code by making unredacted deposits with the Copyright Office
in support of its registration applications. Opp’n, Docket No. 27 at 15. However, the
Copyright Office allows applicants with source code containing trade secret material to
satisfy the deposit requirement by submitting two 25-page segments of code with the
portions of the code that contain trade secret material redacted. See COMPENDIUM §
1509.1(c); U.S. Copyright Office, Copyright Registration of Computer Programs,
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                            Page 13 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 14 of 19 Page ID #:1053

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.        SACV 19-519 JVS (JDEx)                                     Date   May 6, 2019

 Title           Softketeers, Inc. v. Regal West Corporation, et al.

Circular 61 (2017)3, at 3 (noting options for depositing source code containing trade
secrets). Softketeers presents these deposits to the Court, showing that it complied with
the proper procedure. Reply Nguyen Decl., Exs. 39–46.

       Lastly, Defendants present arguments about trade-secret ownership and implied
licenses similar to the arguments they make against Softketeers’ copyright claims.
Opp’n, Docket No. 27 at 14–15. Therefore, those arguments fail for the same reasons.
Defendants do make a new argument that the Software embodies “proprietary business
processes” constituting Regal trade secrets; however, even if true, Regal would still not
have rights in the source code by which those processes are implemented. Id. at 16.
Therefore, it does not affect Softketeers’ likelihood of success.

      In sum, Softketeers has shown a likelihood of success on its allegation that the
source code is entitled to trade secret protection.

                   b.      Misappropriation

         Under federal law, trade secret misappropriation includes:

                        disclosure or use of a trade secret … by a person who . . .
                        knew or had reason to know that the knowledge of the trade
                        secret was . . . acquired under circumstances giving rise to
                        a duty to maintain the secrecy . . . or limit the use of the
                        trade secret; or derived from or through a person who owed
                        a duty to the person seeking relief to maintain the secrecy
                        . . . or limit the use of the trade secret. . . .

18 U.S.C. § 1839(5)(B)(ii)(II)–(III). Under California law, misappropriation similarly
includes:

                        [d]isclosure or use of a trade secret . . . by a person who: .
                        . . . . knew or had reason to know that his or her knowledge
                        of the trade secret was: . . . Acquired under circumstances
                        giving rise to a duty to maintain its secrecy or limit its use;

         3
             Available at https://www.copyright.gov/circs/circ61.pdf.
CV-90 (06/04)                               CIVIL MINUTES - GENERAL                              Page 14 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 15 of 19 Page ID #:1054

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                 Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

                    or [d]erived from or through a person who owed a duty to
                    the person seeking relief to maintain its secrecy or limit its
                    use. . . .

Cal. Civ. Code § 3426.1(b)(2)(B)(ii)–(iii).

        Here, the programmer-Defendants knew their knowledge of the source code of the
Software was acquired under circumstances requiring them to maintain its secrecy and
limit its use based on their confidentiality agreements. See Nguyen Decl., Exs. 10–13.
Regal also had reason to know that the programmer-Defendants had such duties because
there is evidence that Regal had them sign similar contracts when bringing them over.
See id. ¶ 23, Ex. 21. Therefore, Softketeers has shown a likelihood that the Individual
Defendants’ disclosure and ongoing use of the source code for Regal constitutes
misappropriation, as does Regal’s ongoing use of the source code, under both state and
federal law.

      In sum, Softketeers has established that it is likely to succeed on the merits of its
copyright and trade secret claims. This factor weighs in favor of provisional relief.

B.       Irreparable Harm

       A preliminary injunction is also necessary to prevent irreparable harm to
Softketeers. First, Softketeers has demonstrated that absent a preliminary injunction, it
would likely face bankruptcy and insolvency prior to the conclusion of trial. Since losing
control of the source code, Softketeers has been reduced to one employee, Nguyen, who
no longer draws a salary. Nguyen Decl. ¶ 23. Furthermore, there is no dispute that Regal
is withholding about $277,000 in invoice payments for Softketeers work completed
between November 19, 2018 and February 1, 2019. Id. ¶ 19. Because the Individual
Defendants have displaced Softketeers at Regal, Softketeers has no prospective revenue
stream, exposing it to claims for nonpayment from its own contractors for which it has no
revenue to satisfy. See id. ¶ 20; Reply Nguyen Decl., Ex. 34–35. Moreover, a
preliminary injunction would likely forestall a bankruptcy: Regal and its customers
would need updates and modifications, and Regal or its customers would want to hire
Softketeers for that work. On the other hand, absent an injunction, Softketeers will not be
hired to do that work by Regal because of their continued infringement, nor by Regal’s
customers because Regal is providing those services directly at no additional cost. See
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                             Page 15 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 16 of 19 Page ID #:1055

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

Nguyen Decl. ¶ 27. These facts demonstrate a likelihood of insolvency. Because a
bankruptcy would also result in forfeiture of Softketeers’ claims, this alone demonstrates
a likelihood of irreparable harm. See Doran v. Salem Inn, Inc., 422 U.S. 922, 932 (1975)
(threat of bankruptcy “sufficiently meets the standards for granting interim relief, for
otherwise a favorable final judgment might well be useless”).

       Furthermore, the lack of provisional relief could result in an irretrievable harm to
Softketeers’ enforceable rights vis-a-vis Regal. Because the Software requires
continuous modifications and updates, the Software will continue to evolve between now
and trial. See Nguyen Decl. ¶ 24. And each line of code added or altered to the
Software’s source code further clouds Softketeers’ purported title. Furthermore, this
admixture of competing ownership claims would likely result in a code that is no longer
marketable to anyone but Regal. Although Defendants claim that the title to the Software
has always been clouded because it contains their trade secrets based on the “proprietary
processes, know-how, and business practices” embodied in the Software, Defendants
have not actually identified any such processes, know-how, or practices. Moreover, the
source code could become widely disseminated because it is outside Softketeers’ control,
resulting in the loss of trade secret protection for the Software altogether. And as
Softketeers points out, although the programmer-Defendants have secrecy agreements
with Regal, they’ve already broken similar agreements with Softketeers. Thus, the risk of
dissemination exists, particularly because Defendants’ position in this lawsuit is that the
programmer-Defendants have independent ownership rights in the Software.

       Finally, Softketeers has demonstrated the possibility that it has accumulated
goodwill with Regal’s customers independent of Regal, goodwill which would be lost
absent a preliminary injunction. See Nguyen Decl. ¶¶ 25–27, Exs. 27–28; Reply Nguyen
Decl. ¶¶ 29, 37, Ex. 36. Damage to goodwill qualifies as irreparable harm. Rent-A-
Center, Inc. v. Canyon Television & Appliance Rental, Inc., 944 F.2d 597, 603 (9th Cir.
1991). Defendants argue that Softketeers’ claims of goodwill are entirely speculative.
Opp’n, Docket No. 27 at 20. However, even if so, Softketeers has demonstrated
irreparable harm based on the likely bankrutpcy and diminution in the value of its rights
in the Software.

      In totality, Softketeers demonstrates a likelihood of irreparable harm absent a
preliminary injunction. Thus, this factor weighs in favor of provisional relief.

CV-90 (06/04)                           CIVIL MINUTES - GENERAL                            Page 16 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 17 of 19 Page ID #:1056

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

C.       Equities

        As explained above, Softketeers faces extinction and the uncompensated forfeiture
of its rights in the Software (for which Regal has twice offered to pay over $1 million)
because it will be unable to prosecute this case to conclusion. On the other hand,
although Defendants’ will effectively be forced to put halt its business operations if it is
barred from using and modifying the Software source code, “[d]efendants cannot
complain of the harm that will befall [them] when properly forced to desist from [their]
infringing activities.” Ossur hf v. Manamed Inc., 331 F. Supp. 3d 1005, 1017 (C.D. Cal.
2017); see also Cadence Design Sys., Inc. v. Avant! Corp., 125 F.3d 824, 830 (9th Cir.
1997) (denying injunction was in error even though effect would be “devastating” to
defendant’s business because plaintiff “established that it was likely to succeed on the
merits of its copyright claim”). Thus, even if an injunction would result in negative
consequences for Defendants’ business, the balance of equities tips in Softketeers’ favor,
and in favor of provisional relief.

D.       Public Interest

        The public interest is served by the protection of Softketeers’ copyrights and trade
secrets. Merrill Lynch, Pierce, Fenner & Smith Inc. v. Chung, No. CV 01-00659 CBM
(RCx), 2001 WL 283083, at *6 (C.D. Cal. Feb. 2, 2001); see also Klitzner Indus., Inc. v.
H.K. James & Co., 535 F. Supp. 1249, 1259–60 (E.D. Pa. 1982) (“Since Congress has
elected to grant certain exclusive rights to the owner of a copyright in a protected work, it
is virtually axiomatic that the public interest can only be served by upholding copyright
protections.”). Furthermore, Defendants’ argument that provisional relief is anti-
competitive is nullified by the fact that the Court has found a likelihood of copyright
infringement and trade secret misappropriation; there is nothing anti-competitive about
enjoining unlawful conduct. Therefore, this factor favors provisional relief.

E.       Unclean Hands

       “The doctrine [of unclean hands] bars relief to a plaintiff who has violated
conscience, good faith or other equitable principles in his prior conduct, as well as to a
plaintiff who has dirtied his hands in acquiring the right presently asserted.” Seller
Agency Council, Inc. v. Kennedy Ctr. for Real Estate Educ., Inc., 621 F.3d 981, 986 (9th
Cir. 2010) (internal quotation marks omitted); see also Precision Instrument Mfg.Co. v.
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                            Page 17 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 18 of 19 Page ID #:1057

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                Date   May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

Auto. Maint. Mach. Co., 324 U.S. 806, 814 (1945).

      Defendants argue Softketeers’ hands are dirty because (1) it defrauded Regal
because Regal cannot use the very software it paid Softketeers millions of dollars to
develop, (2) Softketeers cannot produce to Regal a complete, current version of the
source code as required by the parties’ implied-in-fact contract, and (3) Regal has learned
that Nguyen has been manipulating Software to ensure it would require his ongoing
support, and (4) Nguyen’s final invoices “appear fraudulent.” Opp’n, Docket No. 27 at
25. As to the first two arguments, the Court has found a likelihood that Regal paid
Softketeers for development, consulting, and deliverable object code, but not for the
source code, which was withheld for the parties’ entire near 20-year relationship.
Therefore, those allegations do not create unclean hands. Furthermore, that the Software
would require ongoing support is not wrongful; the evidence shows that the Software has
been modified and updated continuously since its inception. Finally, Defendants do not
provide any specifics as to the manner in which invoices were fraudulent. Therefore,
injunctive relief is not foreclosed by an unclean hands affirmative defense.

F.       Relief

      The Copyright Act authorizes the Court to “grant temporary . . . injunctions on
such terms as it may deem reasonable to prevent or restrain infringement of a copyright.”
17 U.S.C. § 502(a). It also more authorizes the Court, “[a]t any time while an action” for
copyright infringement is pending, to “order the impounding, on such terms as it may
deem reasonable . . . of all copies . . . claimed to have been made or used in violation of
the exclusive right of the copyright owner.” 17 U.S.C. § 503(a)(1).

       The federal Defend Trade Secrets Act expressly authorizes the Court to “grant an
injunction . . . to prevent any actual or threatened misappropriation.” 18 U.S.C. §
1836(b)(3)(A). And the California Uniform Trade Secrets Act likewise provides:
“[a]ctual or threatened misappropriation may be enjoined.” Cal. Civ. Code § 3426.2(a).

      At the hearing on this motion, Regal argued that the relief sought is vague and
overly broad. The Court disagrees. Softketeers has shown a likelihood of success on its
claims that the source code for the Software it identifies is either trade-secret protected,
copyright protected, or both. Therefore, the scope of the injunction is correct, and
Softketeers seeks relief that is authorized by statute.
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                            Page 18 of 19
Case 8:19-cv-00519-JWH-JDE Document 47 Filed 05/06/19 Page 19 of 19 Page ID #:1058

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 19-519 JVS (JDEx)                                         Date     May 6, 2019

 Title          Softketeers, Inc. v. Regal West Corporation, et al.

G.       Bond

       Under Federal Rule of Civil Procedure 65(c), the Court “may issue a preliminary
injunction . . . only if the movant gives security in an amount that the court considers
proper to pay the costs and damages sustained by any party found to have been
wrongfully enjoined or restrained.” The Ninth Circuit has recognized that Rule 65(c)
invests the district court “with discretion as to the amount of security required, if any.”
Barahona–Gomez v. Reno, 167 F.3d 1228, 1237 (9th Cir. 1999) (citing Doctor's Assoc.,
Inc. v. Stuart, 85 F.3d 975, 985 (2d Cir. 1996)); see also Disney Enterprises, Inc. v.
VidAngel, Inc., 224 F. Supp. 3d 957, 978 (C.D. Cal. 2016), aff’d, 869 F.3d 848 (9th Cir.
2017).

       The Court finds that a bond in the amount of ten-thousand dollars ($10,000) is
satisfactory at this stage. However, this finding is without prejudice as to an ex parte
application by Defendants upon proper evidentiary showing to increase the bond. The
bond of $10,000 shall be posted within two (2) business days of the Court signing the
preliminary injunction.

                                        IV. CONCLUSION

         For the foregoing reasons, the Court grants the motion.

                 IT IS SO ORDERED.




                                                                                                :         0

                                                        Initials of Preparer      lmb




CV-90 (06/04)                           CIVIL MINUTES - GENERAL                                       Page 19 of 19
